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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


ATLANTIC RECORDING                          :
CORPORATION, et al.,                        :
                                            :
      Plaintiffs,                           :
                                            :
      v.                                    :
                                            :
SPINRILLA, LLC, and JEFFERY                 :          CIVIL ACTION NO.
DYLAN COPELAND,                             :          1:17-CV-00431-AT
                                            :
      Defendants.                           :

                              OPINION AND ORDER

      This action for copyright infringement is before the Court on the parties’

Cross Motions for Summary Judgment [Doc. 224, 226, 262, 264] 1 and Plaintiff’s

Motion to Strike Expert Testimony [Doc. 322]. The Court’s rulings are set forth

below.

I.    FACTUAL BACKGROUND

      Defendant, Jeffery Dylan Copeland (“Copeland”) is the founder, manager,

and sole member of Spinrilla, LLC (“Spinrilla”). (See Pl.’s Statement of

Undisputed Material Facts (“Pl. SMF”) ¶¶ 2, 3, 41.) Copeland launched the

Spinrilla website in early 2013 as a streaming and downloading service for hip-

hop music. (Id. ¶¶ 1, 4.) Spinrilla, “the 800-lb gorilla of hip-hop mixtapes,”

1These motions include: Plaintiffs’ Motion for Summary Judgment on Liability [Doc. 224],
Plaintiffs’ Renewed Motion for Partial Summary Judgment on Defendants’ DMCA Safe Harbor
Defense [Doc. 227], Defendant’s Cross Motion for Summary Judgment on Plaintiffs’ Claims of
Direct and Secondary Copyright Infringment [Doc. 262], and Defendants’ Cross Motion for
Partial Summary Judgment as to Their DMCA Safe Harbor Defense [Doc. 264].
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launched as a music app on the iOS platform in May 2013 and on the Android

platform in early 2014. (Id. ¶¶ 5, 6). Defendants claim to have created Spinrilla as

a platform for users to listen to and discover “independent and emerging hip-hop

artists.” (Def.’s Statement of Material Facts (“Def. SMF”) ¶¶ 15, 16.) Since its

inception, Spinrilla has grown to include approximately 19 million registered

users and 1.5 million daily active users, 14,000 of whom have the ability to upload

audio files. (Pl. SMF ¶ 7; Def. SMF ¶ 63.) As of October 2017, there were

approximately 1.4 million songs on Spinrilla. (Def. SMF ¶ 99; J. Copeland Dep.

141:19-25, Oct. 19, 2017.)

      Plaintiffs, a collection of the largest record companies in the U.S., filed suit

against Spinrilla on February 3, 2017, claiming that Spinrilla has allowed and

participated in copyright infringement of thousands of Plaintiff’s sound

recordings. In an Amended Complaint filed on October 19, 2017, Plaintiffs listed

approximately 2,000 copyright infringing sound recordings. (Am. Compl., Ex. A.)

Plaintiffs last amended their complaint on December 18, 2018 to include 4,082

total works in suit for which Plaintiffs own the copyrights and which Plaintiffs

allege were infringed by Defendants. (Unopposed Amendment to Ex. A to Am.

Compl.) Defendants admit that the 4,082 sound recordings listed were uploaded

to and downloaded or streamed from Spinrilla. (Def. Resp. Pl. SMF ¶ 60.)

      General users of Spinrilla’s website and apps may stream and download

songs and mixtapes that have been uploaded by “DJ[s]” with “artist account[s].”

(Pl. SMF ¶¶ 8, 9, 12.) Defendants grant artist accounts to users who submit


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applications and are approved by Spinrilla for upload rights. (Id. ¶ 9.) DJs who

have artist accounts can directly upload “mixtapes” that contain mp3 files of

sound recordings to the Spinrilla site. (Id. ¶¶ 12, 14, 15.) Defendant Copeland has

at times helped users upload mixtapes when users requested such help. (Id. ¶ 25;

J. Copeland Dep. at 122:3-123:10, Oct. 19, 2017.) Plaintiffs identified forty-five

mixtapes containing 165 works in suit for which Plaintiffs own the copyrights that

were uploaded directly by Copeland, the last of which was uploaded on July 5,

2016. (Pl. SMF ¶ 61.) Defendants concede that Copeland uploaded thirty-eight of

the forty-five mixtapes but deny knowing that those mixtapes contained

Plaintiffs’ works in suit. (Def. Resp. Pl. SMF ¶ 61.) Copeland testified that he did

not listen to the mixtapes prior to uploading them and did not look at the track

names or artists. (Id.; J. Copeland Dep. 314:15-315:2, Oct. 19, 2017.)

      Copeland also promotes certain mixtapes by placing them on “Sponsored”

or “Featured” sections or under “special banners” on the Spinrilla website and

apps. (Pl. SMF ¶¶ 36-38.) Plaintiffs contend that Defendants promoted,

advertised, and directed users to multiple mixtapes containing copyright

infringing sound recordings. (Id. ¶¶ 68-72.) Defendants assert that Copeland

only promotes mixtapes at the request of users and without listening to the

content of the recordings. (Def. Resp. Pl. SMF ¶ 72; J. Copeland Dep. at 201:7-12,

Oct. 19, 2017.) Therefore, Copeland denies having knowledge that the mixtapes

identified by Plaintiffs contained the copyright infringing works in suit. (Def.

Resp. Pl. SMF ¶ 72). Copeland also, at times, communicated with DJs directly


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and gave them feedback on their mixtapes. However, Copeland states that he

typically did not listen to the mixtapes on which he would comment. Defendants

claim that when Copeland communicated with users who uploaded copyright

infringing sound recordings and “told users their mixtape ‘sounded great,’ he was

saying that as customer service rather than a factual statement.” (Id. ¶ 89.)

      In March 2015, Plaintiffs, through the Recording Industry Association of

America (“RIAA”), began sending notices of copyright infringement to Spinrilla.

Between March 4, 2015 and February 6, 2017, a team of investigators under the

direction of Carlos Linares, Vice President of Anti-Piracy Legal Affairs at RIAA,

sent fifty-nine “takedown notices” requesting that Spinrilla remove 407 identified

sound recordings from its website and apps. (C. Linares Declaration ¶ 9.)

Defendants claim that they removed each identified infringing sound recording

immediately upon receipt of a “takedown notice.” (J. Copeland Dep. 66:14-15,

Oct. 31, 2017.) According to Defendants, Spinrilla also “manually monitored” the

site a few times a week by directly reviewing which songs were on the site and

removed content that was sold on iTunes or Spotify. (Def. SMF ¶ 100; J.

Copeland Dep. at 67:13-24, Oct. 31, 2017.) 2 However, Copeland also stated that

he does not listen to mixtapes after they are posted on Spinrilla. (Id. ¶ 89; J.

Copeland Dep. at 116:4-7, Oct. 19, 2017.) Plaintiffs dispute the assertion that

Defendants took expeditious action in response to every takedown notice, and

Plaintiffs identify particular sound recordings that were not removed from

2 Defendants thus imply that if a sound recording is sold on iTunes or Spotify then it is a
copyrighted work.


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Spinrilla in response to takedown notices from RIAA. (Pl. Resp. Def. SMF ¶

100.) 3 Defendants assert that they only failed to remove a sound recording

identified in a takedown notice if the notice did not contain a URL which would

allow Defendants to identify the infringing item on its site. (Def. SMF ¶ 193.)

Plaintiffs also claim that infringing sound recordings that were removed in

response to their takedown notices were subsequently re-uploaded to Spinrilla.

(Pl. SMF ¶ 130.) 4

       In January 2015, UMG Recordings, Inc. (“UMG”), one of the Plaintiffs,

informed Defendants about the availability of the content recognition software

Audible Magic. (Pl. SMF ¶ 134.) 5 Spinrilla first implemented Audible Magic in

December 2015, almost three years after it launched. (Pl. SMF ¶ 134; Def. SMF ¶

112.) Defendants assert that they have used Audible Magic to scan every audio file

uploaded since December 2015 and more than 100,000 files that were uploaded

have been blocked from publication on Spinrilla. (Id. ¶¶ 112, 114.) In May 2016,

six months after implementing Audible Magic and at Plaintiffs’ suggestion,

Defendants performed a back scan of the already existing Spinrilla catalog of

3 See e.g. Pl.’s Resp. Def. SMF ¶ 100 (Plaintiffs specify five infringing mixtapes that were
included in a takedown notice delivered to Spinrilla on November 3, 2016 that were still
available on the Spinrilla site as of January 19, 2017).
4 E.g. Plaintiffs claim that they identified sixteen copies of “Campaign” by Ty Dolla $ign which

were uploaded to, downloaded from, and streamed from Spinrilla after RIAA sent a takedown
notice identifying this work in suit on July 29, 2016. (Pl. SMF ¶ 130.) Defendants dispute this
claim, stating that some of the files containing the name “Ty Dolla $ign” and “Campaign” could
not be copies of the sound recording owned by Plaintiffs because the files were not blocked by
Audible Magic, which should have recognized the commercial version of the song. Defendants
also state that other files containing those names were uploaded before “Campaign” was publicly
released.
5 Audible Magic is a filtering technology that identifies and blocks copyrighted audio files before

they are published on the site. (Def. SMF ¶ 107)


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sound recordings and found over one thousand copies of Plaintiffs’ works in suit.

(Def. Resp. Pl. SMF ¶ 135.) Spinrilla performed two additional back scans in

February and August 2017, finding over one thousand additional copies of

Plaintiffs’ works in suit. (Pl. SMF ¶ 136; Def. SMF ¶ 123.) Plaintiffs note that,

based on data from the back scans, 98,675 files were blocked by Audible Magic

after the files had already been published on Spinrilla and had been streamed or

downloaded by users as of October 2017. (Pl. Resp. Def. SMF ¶ 114.)

       On several occasions, Copeland communicated with Spinrilla DJs about

mixtape tracks that were blocked by Audible Magic’s filter. While Copeland

informed users that Spinrilla does not allow copyright infringing sound

recordings on its platform, 6 he also at times instructed users to modify sound

recordings in order to get past Audible Magic’s filter. 7 Copeland claims that by

telling a DJ to slow down a track to get past copyright detection software he was

instructing the user to “create a derivative work that is so different that it’s not

the same as what’s being flagged.” (J. Copeland Dep. at 30:20-22, Oct. 31, 2017.)

On at least two occasions, Copeland listened to a sound recording blocked by

6 See P. Warren Decl., Ex. 54 (email from “Spinrilla Support” to “DJ Papito” (Feb. 17, 2016,
15:36)) (“If the copyrighted material is detected, we cannot allow the music on Spinrilla.”
“Please make sure that none of the tracks you are attempting to upload are from albums, or paid
projects, as that music is not allowed on Spinrilla.”); P. Warren Decl., Ex. 58 (email from
“Spinrilla Support” to “DJ Donny P” (Feb. 9, 2016)) (“If the tracks are infringing on owners
copyright, you will not be able to upload those tracks.”)
7 See P. Warren Decl., Ex. 54 (email from “Spinrilla Support” to “DJ Papito” (Feb. 17, 2016,

21:36)) (“You’ll need to remix, or slow down these tracks for them to pass by the copyrighted
detection software.”); P. Warren Decl., Ex. 55 (email from “Spinrilla Support” to “DjBSki
Mixtapes” (Feb. 23, 2016, 16:44)) (“You may need to remix, slow down, or speed up these tracks
to get past the filter.”); P. Warren Decl., Ex. 57 (email from “Spinrilla Support” to “Shaun Berry”
(Feb. 15, 2016, 20:22) (“As far as how other Djs are getting tracks up, they may be slowing tracks
down or speeding them up to evade the copyright filters”).


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Audible Magic, determined that it was a “remix” which was different than the

commercial version, and “pushed it through” to be available on a user’s mixtape.

(Def. Resp. Pl. SMF ¶ 63.)

      When Spinrilla launched in 2013, the “Web Site Terms and Conditions of

Use” included a notification that users must agree to be bound by “all applicable

laws and regulations.” (Def. SMF ¶ 90.) In March 2015, the “Terms and

Conditions” were updated to include the statement: “[y]ou will not submit

content that is copyrighted or subject to third party proprietary rights.” (Def.

SMF ¶ 92.) Spinrilla updated its “Terms of Service” again in June 2017 to include

a “Copyright Policy” and a description of its “DMCA Notice and Procedure for

Copyright Infringement Claims.” (Id. ¶ 95.) The updated “Terms of Service” also

contained a separate paragraph about suspension and termination of user

accounts for violation of Spinrilla’s terms of use. (Id.) On July 23, 2017, Spinrilla

added a paragraph entitled “Repeat Infringement” to its Terms of Service, which

addressed   termination      of   user   accounts   due specifically to copyright

infringement. (Id. ¶ 96; see S. Wilkens Decl., Ex. 17 at 25 (“Users may not upload

music or other content owned by someone else in a manner that violates

copyright law. Each copyright infringement notice against a user’s account

constitutes a ‘strike.’ After two strikes, the user’s ability to upload music will be

revoked.”)) At that time, Copeland also created a spreadsheet to track all claims

of copyright infringement and repeat infringers. (Id. ¶ 98.)




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       Defendants have removed upload privileges for ten accounts due to

repeated copyright infringement. (Def. Resp. Pl. Interrogatory No. 6.) Spinrilla

terminated two accounts in 2016 before Plaintiffs filed suit. (Id.) Spinrilla

terminated seven accounts of users who were mentioned in the suit or whose

songs were included in the suit on February 3, 2017, which was the day that

Plaintiffs filed the complaint. (Id.) One additional account was terminated on

June 29, 2017 because the “user was impersonating another artist.” (Id.)

       RIAA conducted a “Repeat Infringer Study” by sending twenty-three

targeted takedown notices identifying 286 sound recordings to Defendants

between July 27, 2016 and November 27, 2016. (C. Lineras Decl. ¶ 12.)

Defendants responded to all twenty-three takedown notices but did not remove

some of the sound recordings from five of the takedown notices. (Def. SMF ¶ 192;

Pl. Resp Def. SMF ¶ 192.) Defendants assert that they removed any infringing

audio files if the takedown notice included a URL or defendants were otherwise

able to locate the infringing files. (Def. SMF ¶ 193.)

       From July to November 2016, RIAA identified nine specific accounts that

were listed in multiple takedown notices. (Id.) 8 Spinrilla terminated one of the

accounts, HurricaneMixtapes.com, on February 3, 2017, which is the day that

Plaintiffs filed their complaint. (Def. Resp. Pl. Interrogatory No. 6.) Defendants


8 Accounts identified were “DJ Dirty Dollarz,” “DJ Miles,” “DJ HyDef,” “DJ Creative Mind,” “DJ
ASAP,” “HurricaneMixtapes.com,” “DJ Trey Cash,” “DJ 837,” and “DJ Fiestaboii.” (Lineras decl.
¶ 12). E.g. Sound recordings uploaded by DJ Dirty Dollarz were identified in 23 of the takedown
notices and sound recordings uploaded by DJ miles were identified in 21 of the takedown
notices.


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admit that they have not terminated the other eight accounts, which remain

active on Spinrilla. (Pl. SMF ¶¶ 115-117, 119.) Plaintiffs did not send any further

takedown notices to Defendants after filing their complaint on February 3, 2017,

and therefore Defendants have not received any takedown notices for these users

since implementing their “two strike” policy on July 23, 2017. (Def. Resp Pl. SMF

¶¶ 115-117, 119.) Plaintiffs have identified multiple infringing tracks uploaded by

some of these users after July 23, 2017 but have not sent any takedown notices to

Defendants regarding these tracks (See Pl. Reply to Def. Resp. Pl. SMF ¶¶ 115-

117.) 9

          Until July 2017, Spinrilla received notifications of claimed copyright

infringement directly by email at legal@spinrilla.com, but did not have a

registered agent listed with the U.S. Copyright Office. (C. Linares Decl. ¶¶ 6, 7.)

Spinrilla registered a DMCA designated agent with the U.S. Copyright Office on

July 29, 2017, which was one day after Plaintiffs filed their motion for summary

judgment and five months after Plaintiffs filed suit. (Pl. SMF ¶ 147.)

II.       STANDARD FOR SUMMARY JUDGMENT

          The Court must grant summary judgment if the record shows “that there is

no genuine issue as to any material fact and that the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A factual issue is genuine if


9 Plaintiffs list four sound recordings uploaded by DJ Dirty Dollarz, six infringing sound
recordings uploaded by DJ Miles, and eleven sound recordings uploaded by DJ 837 which were
published to Spinrilla, downloaded and streamed, and subsequently flagged by Audible Magic
and removed. (Pl.’s Reply to Def. Resp. Pl. SMF ¶¶ 115-117.) These sound recordings are not
included in Plaintiff’s listed works in suit. (See Wilkens Ex. 001; Pl. SMF, Schedule A.)


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there is sufficient evidence for a reasonable jury to return a verdict in favor of the

non-moving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986). A factual issue is material if resolving the factual issue might change the

suit’s outcome under the governing law. Id. The motion should be granted only

if no rational fact finder could return a verdict in favor of the non-moving party.

Id. at 249.

      When ruling on the motion, the Court must view all the evidence in the

record in the light most favorable to the non-moving party and resolve all factual

disputes in the non-moving party’s favor. See Reeves v. Sanderson Plumbing

Prods., Inc., 530 U.S. 133, 150 (2000). The moving party need not positively

disprove the opponent’s case; rather, the moving party must establish the lack of

evidentiary support for the non-moving party’s position. See Celotex Corp. v.

Catrett, 477 U.S. 317, 325 (1986). If the moving party meets this initial burden,

in order to survive summary judgment, the non-moving party must then present

competent evidence beyond the pleadings to show that there is a genuine issue

for trial. Id. at 324-26. The essential question is “whether the evidence presents

a sufficient disagreement to require submission to a jury or whether it is so one-

sided that one party must prevail as a matter of law.” Anderson, 477 U.S. at 251-

52.

      The standard of review for cross-motions for summary judgment does not

differ from the standard applied when only one party files a motion, but simply

requires a determination of whether either of the parties deserves judgment as a


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matter of law on the facts that are not disputed. Am. Bankers Ins. Group v.

United States, 408 F.3d 1328, 1331 (11th Cir. 2005). The Court must consider

each motion on its own merits, resolving all reasonable inferences against the

party whose motion is under consideration.              Id.   The Eleventh Circuit has

explained that “[c]ross-motions for summary judgment will not, in themselves,

warrant the court in granting summary judgment unless one of the parties is

entitled to judgment as a matter of law on facts that are not genuinely disputed.”

United States v. Oakley, 744 F.2d 1553, 1555 (11th Cir. 1984). However, cross-

motions may be probative of the absence of a factual dispute where they reflect

general agreement by the parties as to the controlling legal theories and material

facts. Id. at 1555-56.

III.   Cross Motions for Summary Judgment on Liability

       Plaintiffs and Defendants have cross-moved on the issue of Defendants’

liability for copyright infringement.

       Plaintiffs assert 10 the Defendants are directly liable under the Copyright

Act as a matter of law for their admitted streaming of 4,082 of Plaintiffs’

copyrighted sound recordings 11 from their servers to their users without

Plaintiffs’ authorization. According to Plaintiffs, streaming of sound recordings

over the internet constitutes a public performance; therefore by making the




10 While the argument was raised in the Motion and Reply, it was most clearly presented in by
counsel during the oral argument on June 27, 2019.
11 Also referred to as the “works in suit.”




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recordings available for streaming without a license, Defendants have infringed

Plaintiffs’ exclusive right of performance.

      In response, Defendants argue that Plaintiffs have failed to point to any

actual infringing conduct by Defendants, as opposed to Spinrilla’s customers,

relying on a line of cases holding that an internet service provider is not liable for

third-party users uploading of copyrighted material merely because of the

structure of its server system.

      A copyright owner has certain exclusive rights in its works. These rights

include the right to reproduce the copyrighted work, the right to prepare

derivative works, the right to distribute copies to the public, and the right to

publicly perform the work. 17 U.S.C. §§ 106(1)-(5). The Copyright Act has long

granted to creators of music and audiovisual works the exclusive right to perform

their copyrighted musical works publicly. 17 U.S.C. § 106(4). In 1995, Congress

passed the Digital Millennium Copyright Act or “DMCA” granting the right to

perform copyrighted sound recordings publicly by means of digital audio

transmissions. 17 U.S.C. § 106(6) (“In the case of sound recordings,” the

copyright owner has the exclusive right “to perform the copyrighted work

publicly by means of a digital audio transmission.”).          The right of public

performance includes the right to “to transmit or otherwise communicate a

performance. . . to the public, by means of any device or process, whether the

members of the public capable of receiving the performance . . . receive it in the

same place or in separate places and at the same time or at different times.” Id. §


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101 (referred to as the “transmit clause”). 12 The Copyright Act provides that

“[a]nyone who violates any of [these] exclusive rights of the copyright owner . . .

is an infringer of the copyright . . . .” 17 U.S.C. § 501; Cable/Home Commc'n

Corp. v. Network Prods., Inc., 902 F.2d 829, 842 (11th Cir. 1990) (“The

Copyright Act “provides a fair return to authors and inventors by protecting their

works from exploitation by others.”) (citing Harper & Row, Publishes, Inc. v.

Nation Enters., 471 U.S. 539, 546 (1985)).

       To prevail on a claim for direct copyright infringement, a plaintiff must

show (1) that he owns a valid copyright and (2) that the defendant copied,

distributed, reproduced, and/or performed protected elements of that work. See

Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., Inc., 499 U.S. 340, 361 (1991) (“To

establish infringement, two elements must be proven: (1) ownership of a valid

copyright, and (2) copying of constituent elements of the work that are


12 As explained by the district court in United States v. Am. Soc. of Composers, Authors &
Publishers:
    There are two separate copyrights implicated in Applicants' digital audio performances
    of songs through their Internet properties: (a) the right in the musical works, which
    comprises the melodies and/or lyrics that underlie all songs, and which are written by
    songwriters and generally licensed in the United States by performing rights
    organizations . . .; and (b) the right in the sound recordings, which is the particular
    recording of the work by a particular artist or band, the copyright in which is typically
    owned by record companies. Similarly, [the] performances of music videos require
    licenses of two copyrights: (a) the performance right in the musical work, generally
    licensed by performing rights organizations; and (b) the performance right in the
    audiovisual work, generally licensed by the record companies. See 17 U.S.C. § 106(4).
    Ordinarily, where a right exists, the copyright owner is free to choose to license that right
    to others or not.
United States v. Am. Soc. of Composers, Authors & Publishers, 559 F. Supp. 2d 332, 403
(S.D.N.Y. 2008), vacated and remanded on other grounds sub nom. United States v. Am. Soc.
of Composers, Authors, Publishers, 627 F.3d 64 (2d Cir. 2010).




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original.”); Saregama India Ltd. v. Mosley, 635 F.3d 1284, 1290 (11th Cir. 2011)

(“To make out a prima facie case of copyright infringement, a plaintiff must show

that (1) it owns a valid copyright in the [work] and (2) defendants copied

protected elements from the [work].”); Cable/Home Commc'n Corp. v. Network

Prods., Inc., 902 F.2d 829, 843 (11th Cir. 1990) (“Public distribution of a

copyrighted work is a right reserved to the copyright owner, and usurpation of

that right constitutes infringement.”); Disney Enterprises, Inc. v. Hotfile Corp.,

798 F.Supp.2d 1303, 1307 (S.D. Fla. 2011).

      “Direct infringement does not require intent or any particular state of

mind, although willfulness is relevant to the award of statutory damages. 17

U.S.C. § 504(c).” Religious Tech. Ctr. v. Netcom On-Line Commc'n Servs., Inc.,

907 F. Supp. 1361, 1367, 1372 (N.D. Cal. 1995) (citing 17 U.S.C. § 504(c),

describing the Copyright Act as imposing strict liability, and noting that

knowledge is irrelevant to a theory of direct infringement). “The absence of

intent to infringe is no defense; a defendant who directly infringes upon the

exclusive rights of a copyright owner is liable even if the infringement was

‘innocent’ or ‘accidental’.” Live Face on Web, LLC v. Tweople, Inc., 2014 WL

12611358, at *2 (M.D. Fla. June 23, 2014) (citing Pinkham v. Sara Lee Corp., 983

F.2d 824, 829 (8th Cir. 1992) and M.L.E. Music Sony/ATV Tunes, LLC v. Julie

Ann’s, Inc., 2008 WL 2358979, at *2 (M.D. Fla. June 9, 2008); Cable/Home

Commc'n Corp., 902 F.2d at 846 (“Even if he could prove that he did not know




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that the subject computer program was copyrighted, actual knowledge is not

required. All that must be shown is that [he] had reason to know.”)

      While knowledge or intent is irrelevant in the context of direct copyright

infringement, courts have held that a claim for direct liability requires evidence

that the defendant directly or actively caused the infringement. See, e.g., CoStar

Grp., Inc. v. LoopNet, Inc., 373 F.3d 544, 550 (4th Cir. 2004) (“While the

Copyright Act does not require that the infringer know that he is infringing or

that his conduct amounts to a willful violation of the copyright owner’s rights, it

nonetheless requires conduct by a person who causes in some meaningful way an

infringement.”) (emphasis in original). Some courts describe this as requiring

evidence of “volitional” conduct by the defendant.        E.g., Perfect 10, Inc. v.

Gignews, Inc., 847 F.3d 657, 666 (9th Cir. 2017) (“In addition, direct

infringement requires the plaintiff to show causation (also referred to as

‘volitional conduct’) by the defendant.”). But “the word ‘volition’ in this context

does not really mean ‘an act of willing or choosing’ or an ‘act of deciding’ . . . it

‘simply stands for the unremarkable proposition that proximate causation

historically underlines copyright infringement liability.’” Id. The requirement of

volition “is not a judicially-created element of intent or knowledge; it is a basic

requirement of causation. As its name suggests, direct liability must be premised

on conduct that can reasonably be described as the direct cause of the

infringement.” Id. (emphasis in original). Recently, the district court for the

Southern District of Florida noted that the “Eleventh Circuit has not considered


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whether ‘volitional’ conduct is a necessary element for finding an internet

company liable for direct copyright infringement.” Hydentra HLP Int. Ltd. V.

Luchian, 2016 WL 5951808, at *8-9 (S.D. Fla. June 2, 2016) (agreeing with the

Second, Third, Fourth, and Ninth Circuits (and other district courts) and finding

that “in imposing liability upon an internet service provider for third-party user’s

uploading of copyrighted material, Plaintiff must establish that Defendants

engaged in a volitional act to cause the illegal copying [because to] find otherwise

would impose liability upon an otherwise passive internet service provider for

conduct that is simply out of its control”).

      Plaintiffs assert that Defendants directly infringed Plaintiffs’ exclusive

rights to “reproduce,” “distribute,” and “perform” their works in suit each time

one of their sound recordings was uploaded to Spinrilla and downloaded or

streamed by Spinrilla users. See 17 U.S.C. § 106(1) (right to reproduction); id. §

106(3) (right to distribution); id. § 106(4) (right to public performance). “Both

uploading and downloading copyrighted material are infringing acts. The former

violates the copyright holder’s right to distribution, the latter the right to

reproduction.” Columbia Pictures Indus. v. Fung, 710 F.3d 1020, 1034 (9th Cir.

2013). Unauthorized online streaming of copyright protected content, Plaintiffs

argue, infringes the copyright owner’s exclusive right of performance.

      Plaintiffs rely on ABC v. Aereo, Inc., 573 U.S. 431 (2014) and a handful of

other federal court decisions to support their argument that the operator of an

online service platform is directly liable for infringing content streamed over the


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internet at the request of its users. See Spanski Enters., Inc., 883 F.3d 904, 908-

910 (D.C. Cir. 2018) (affirming district court’s ruling that web-based video-on-

demand provider was liable for direct infringement by streaming copyrighted

content through its website); Capitol Records, LLC v. Escape Media, 2015 WL

1402049, at *38-39 (S.D.N.Y. 2015) (“By streaming a song on Grooveshark.com,

a user is only able to listen to the song contemporaneously with the stream; a

user cannot receive delivery of the file of the recording. This constitutes a

performance under the Copyright Act.”); Capitol Records, LLC v. ReDigi Inc.,

934 F. Supp. 2d 640, 652 (S.D.N.Y. 2013), aff’d, 910 F.3d 649 (2d Cir. 2018)

(“[A]udio streams are performances because a “stream is an electronic

transmission that renders the musical work audible as it is received by the client-

computer's temporary memory.”) (citing United States v. Am. Soc. of Composers,

Authors, Publishers, 627 F.3d 64, 74 (2d Cir. 2010)); UMG Recording, Inc. v.

Escape Media Grp., Inc., 2014 WL 5089743, at *20 (S.D.N.Y. Sept. 29, 2014)

(“Each time Escape streamed one of plaintiffs’ song recordings, it directly

infringed upon plaintiffs’ exclusive performance rights.”).

      In ABC v. Aereo, Inc., Aereo sold its subscribers “a technologically complex

service that allows them to watch television programs over the Internet at about

the same time as the programs are broadcast over the air.” 573 U.S. at 436-37

(noting that “streaming” is defined as “the process of providing a steady flow of

audio or video data so that an Internet user is able to access it as it is

transmitted”); see also id. at 445 (“Here the signals pursue their ordinary course


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of travel through the universe until … a click on a website activates machinery

that intercepts and reroutes them to Aereo’s subscribers over the internet.”). In

general terms, Aereo used a system made up of servers, transcoders, and

thousands of dime-sized antennas to intercept over-the-air broadcast television

programming signals and transmit the program to its subscribers. Specifically,

the system “works roughly as follows”:

      First, when a subscriber wants to watch a show that is currently
      being broadcast, he visits Aereo's website and selects, from a list of
      the local programming, the show he wishes to see.

      Second, one of Aereo's servers selects an antenna, which it dedicates
      to the use of that subscriber (and that subscriber alone) for the
      duration of the selected show. A server then tunes the antenna to the
      over-the-air broadcast carrying the show. The antenna begins to
      receive the broadcast, and an Aereo transcoder translates the signals
      received into data that can be transmitted over the Internet.

      Third, rather than directly send the data to the subscriber, a server
      saves the data in a subscriber-specific folder on Aereo's hard drive.
      In other words, Aereo's system creates a subscriber-specific copy—
      that is, a “ personal” copy—of the subscriber's program of choice.

      Fourth, once several seconds of programming have been saved,
      Aereo's server begins to stream the saved copy of the show to the
      subscriber over the Internet. (The subscriber may instead direct
      Aereo to stream the program at a later time, but that aspect of
      Aereo's service is not before us.) The subscriber can watch the
      streamed program on the screen of his personal computer, tablet,
      smart phone, Internet-connected television, or other Internet-
      connected device. The streaming continues, a mere few seconds
      behind the over-the-air broadcast, until the subscriber has received
      the entire show.

Id. at 436–37.




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      The plaintiffs in Aereo, owners of the copyrights to the streamed programs,

brought suit for copyright infringement on the basis that Aereo was infringing

their right to “perform” their works “publicly” under the Copyright Act’s

“transmit clause.” Id. at 437. Aereo argued that by supplying equipment that

emulates the operation of a home antenna and digital video recorder, the

equipment simply responds to its subscriber’s directives. Id. at 438. Thus,

according to Aereo, it did not perform. Id. Rather, “it is only the subscribers who

“perform” when they use Areo’s equipment to stream television programs to

themselves.” Id. Aereo also disputed that its service transmits to the public,

arguing that the system makes a personal copy of the subscriber’s selected

broadcast program and streams the content of the copy to that subscriber and no

one else. “The fact that each transmission is to only one subscriber, in Aereo’s

view, means that it does not transmit a performance “to the public.” Id. at 446.

      The Supreme Court considered whether Areo “performs” in violation of the

Copyright Act by posing the following question: “does Areo ‘transmit . . . a

performance’ when a subscriber watches a show using Areo’s system, or is it only

the subscriber who transmits?” Id. According to the Court, the language of the

Copyright Act “does not clearly indicate when an entity ‘performs’ or ‘transmits’

and when it merely supplies equipment that allows others to do so.” Id. at 438-

39. See 17 U.S.C. § 101 (“To perform . . . a work ‘publicly’ means [among other

things] to transmit a . . . performance . . . of the work . . . to the public”). “But

when read in light of its purpose,” the Supreme Court held, “the Act is


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unmistakable: An entity that engages in activities like Areo’s performs.” Id. at

439.

       As the Court in Aereo explains, the Copyright Act was amended in 1976 to

reach conduct like Aereo’s after the Supreme Court had previously held that

community antenna television (CATV) systems (the precursors of modern cable

systems) fell outside the scope of the Copyright Act. In Fortnightly Corp. v.

United Artists Television, Inc., the Court had considered a CATV system that

provided local television broadcasting to its subscribers through antennas and

coaxial cables that carried signals to their home television sets. 392 U.S. 390

(1968). A subscriber “could choose any of the ... programs he wished to view by

simply turning the knob on his own television set.” Id. at 392. In deciding

whether the CATV provider infringed copyright holders’ exclusive right to

perform their works publicly, the Court in Fortnightly drew a line: “Broadcasters

perform. Viewers do not perform” and held that a CATV provider “falls on the

viewer’s side of the line.” Id. at 398-99. The Court reasoned that CATV providers

were unlike broadcasters because “[b]roadcasters select the programs to be

viewed; CATV systems simply carry, without editing, whatever programs they

receive. Broadcasters procure programs and propagate them to the public; CATV

systems receive programs that have been released to the public and carry them by

private channels to additional viewers.” Id. at 400. On the other hand, the Court

reasoned that CATV providers were more like viewers because “the basic function

[their] equipment serves is little different from that served by the equipment


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generally furnished by” viewers and “a CATV system no more than enhances the

viewer's capacity to receive the broadcaster's signals [by] provid[ing] a well-

located antenna with an efficient connection to the viewer's television set.” Id. at

399-400.

      Congress subsequently amended 13 the Copyright Act in response to the

Fortnightly decision, “enact[ing] new language that erased the Court’s line

between broadcaster and viewer, in respect to ‘performing’ a work.” Id. at 441

(“Under this new language, both the broadcaster and the viewer of a television

program “perform,” because they both show the program’s images and make

audible the program’s sounds.”) Congress also enacted the transmit clause to

provide that an entity peforms publicly when it “transmits a performance to the

public,” defining “[t]o transmit a performance as” “to communicate it by any

device or process whereby images or sounds are received beyond the place from

which they are sent.” Aereo, 573 U.S. at 441 (citing 17 U.S.C. § 101).

      The Court in Aereo concluded that cable system activities lie at the heart of

the activities that Congress intended to cover. Id. at 440-442 (citing H.R. Rep., at

63 (“[A] cable televeion system is performing when it retransmits [a network]

broadcast to its subscribers. . . [T]he concep[t] of public performance . . . cover[s]

not only the initial rendition or showing, but also any further act by which that

rendition or showing is transmitted or communicated to the public.”). Thus the


13 Congress also created a detailed compulsory licensing scheme that sets out conditions,
including the payment of compulsory fees, under which cable systems may retransmit
broadcasts. See 17 U.S.C. § 111.


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Aereo Court found that “Aereo is not simply an equipment provider” but “uses its

own equipment” and technology to “receive programs that have been released to

the public and carries them by private channels to additional viewers.” Id. The

Court rejected the argument in dissent that Aereo is “like a copy shop that

provides its patrons with a library card” and should not be directly liable

whenever its customers use its equipment to “transmit” copyrighted television

programs to their screens. Id. at 444. While the Court acknowledged that the

subscribers, not Aereo, selected the copyrighted content they wanted to stream, it

nonetheless found that Aereo was liable for transmitting copyrighted television

programs in violation of the Copyright Act. Id. at 443. It noted, however, that

“[i]n other cases involving different kinds of service or technology providers, a

user’s involvement in the operation of the provider’s equipment and selection of

the content transmitted may well bear on whether the provider performs within

the meaning of the Act. Id. at 444.

      Areo performed the programs publicly within the meaning of the Copyright

Act’s transmit clause:

      When an Aereo subscriber selects a program to watch, Aereo streams
      the program over the Internet to that subscriber. Aereo thereby
      ‘communicates’ to the subscriber, by means of a ‘device or process,’
      the work’s images and sounds. § 101 And those images and sounds
      are contemporaneously visible and audible on the subscriber’s
      computer (or other Internet-connected device). So Aereo transmits
      a performance whenever its subsribers watch a program.




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Id. at 445-46. The Court rejected Aereo’s argument that its transmission of

personal copies of the programs was not a public transmission. The “subscribers

to whom Aereo transmits television programs constitutes ‘the public’ because:

       The Act applies to transmissions ‘by means of any device or process.’
       And retransmitting a television program using user-specific copies is
       a ‘process’ of transmitting a performance. A ‘copy’ of a work is
       simply ‘a material object . . . in which a work is fixed . . . and from
       which the work can be perceived, reproduced, or otherwise
       communicated.’ So whether Aereo transmits from the same or
       separate copies, it performs the same work; it shows the same
       images and makes audible the same sounds. Therefore, when Aereo
       streams the same television program to multiple subscribers, it
       ‘transmits . . . a performance’ to all of them.

Id. at 448.

        Finally, the Court cabined its holding in response to arguments that an

application of the Ttransmit clause to Aereo’s conduct would “impose copyright

liability on other technologies, including new technologies, that Congress could

not possibly have wanted to reach.” Id. at 459 (“[W]e do not believe that our

limited holding today will have that effect. . . For one thing, the history of cable

broadcast transmissions that led to the enactment of the Transmit Clause informs

our conclusion that Aereo ‘perform[s]’, but does not determine whether different

kinds of providers in different contexts also ‘perform.’ For another, an entity only

transmits a performance when it communicates contemporaneously perceptible

images and sounds of a work.”) 14 Although the Court would not “answer more


14For example, “if a distributor . . . sells [multiple copies of a digital video disc] by mail to
consumers . . . [its] distribution of the DVDs merely makes it possible for the recipients to
perform the work themselves – it is not a ‘device or process’ by which the distributor publicly
performs the work.” Id. at 450 (quoting Brief for Respondent at 31.)


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precisely how the transmit clause or other provisions of the Copyright Act” would

apply to “technologies not before it,” the Court did point to examples of activities

that it viewed as . not clearly covered by the Act. 15 Id. at 450-51. These included

cloud computing, remote storage options, and digital video recorders.

        Despite the characterization of its holding as limited, the Aereo Court’s

reasoning and interpretation of the language and underlying purpose of the

Copyright Act apply equally to online music streaming services such as

Spinrilla’s, and is consistent with a number of Circuit and district court decisions.

Accord Spanski Enterprises, Inc. v. Telewizja Polska, S.A., 883 F.3d 904, 911

(D.C.    Cir.   2018)    (dismissing     the    defendant’s     argument      that    “Aereo’s

interpretation of the Copyright Act was a one-time deal, good for that case only . .

. as every first-year law student learns, a judicial decision resolves only the case

before it, so it is unsurprising that the Court declined to hypothesize about how

its holding would apply to future cases. Such judicial restraint, though, hardly

means that Aereo’s holding has no applicability outside that case’s narrow factual

circumstances. As our first-year law student also learns, judicial opinions

establish precedential principles that apply to materially similar factual scenarios

arising in future cases”) (internal citations omitted); see also Capitol Records,

LLC v. ReDigi Inc., 934 F. Supp. 2d 640, 652 (S.D.N.Y. 2013), aff’d, 910 F.3d 649

(2d Cir. 2018) (finding that an audio stream “like a television or radio broadcast,

15The Court did not consider “whether the public performance right is infringed when the user
of a service pays primarily for something other than the transmission of copyrighted works, such
as the remote storage of content” that allows the user a means of playing back copies that the
user has already lawfully acquired. Id. at 450.


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is a performance because there is a playing of the song that is perceived

simultaneously with the transmission”); United States v. Am. Soc'y of

Composers, Authors & Publishers, 485 F. Supp. 2d 438, 446 (S.D.N.Y. 2007),

aff’d sub nom. United States v. Am. Soc. of Composers, Authors, Publishers, 627

F.3d 64 (2d Cir. 2010) (“The broadcasting of television signals is closely

analogous to the streaming of music over the internet. In each case, the digital

data are transmitted in a form designed to permit real-time perception of the

subject performance and, absent some type of recording device, results in the

recipient obtaining no physical or digital copy of the data.”) Indeed, online music

streaming services are not among the specific examples of activities the Aereo

Court expressly noted fell outside the reach of its holding.

      In United States v. Am. Soc’y of Composers, Authors, Publishers, the

Second Circuit Court of Appeals explained why the online streaming of music

constitutes a public performance under the Copyright Act. 627 F.3d 64, 74 (2d

Cir. 2010).    The American Society of Composers, Authors and Publishers

(“ASCAP”) licenses the public performance rights in copyrighted musical works.

More than 295,000 composers, songwriters, lyricists, and music publishers in the

United States participate exclusively in licensing their music through ASCAP.

ASCAP licenses approximately 45% of all of the musical works that are played on-

line. Id. at 69-70. Yahoo! Inc. and RealNetworks, Inc. (collectively, “the Internet

Companies”) sought a blanket license to publicly perform the entirety of the

millions of musical compositions in the ASCAP repertory for a single fee.


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      The Internet Companies provide access to online music performances

through their websites and online music subscription services. Id. at 69. For

example, Yahoo! users can enjoy the specific song or music video they desire from

an “on-demand” stream in Yahoo! Search or listen to a radio-style webcast in

Yahoo! Music. Id. In addition to performing music on websites and through

services, i.e. streaming, the Internet Companies offer their users copies of

recordings of musical works through downloads. “A download is a transmission

of an electronic file containing a digital copy of a musical work that is sent from

an on-line server to a local hard drive. With a download, the song is not audible

to the user during the transfer. Only after the file has been saved on the user's

hard drive can he listen to the song by playing it using a software program on his

local computer.” Id. (citing United States v. Am. Soc'y of Composers, Authors &

Publishers, 485 F.Supp.2d 438, 441-42, 446 (S.D.N.Y. 2007)).

      The Internet Companies did not dispute that these downloads create copies

of the musical works, for which the parties agree the copyright owners must be

compensated. Rather, the dispute was “whether these downloads are also public

performances of the musical works, for which the copyright owners must

separately and additionally be compensated.” Id. at 71. In affirming the district

court’s determination that downloads are not public performances, the Second

Circuit found that the right of public performance under the Copyright Act

necessarily entails contemporaneous perceptibility. Id. at 72 (citing 17 U.S.C. §

101) (“To ‘perform’ ... a motion picture or other audiovisual work ... [is] to show


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its images in any sequence or to make the sounds accompanying it audible.”)

Moreover, the Second Circuit reasoned:

       The Internet Companies' stream transmissions, which all parties
       agree constitute public performances, illustrate why a download is
       not a public performance. A stream is an electronic transmission that
       renders the musical work audible as it is received by the client-
       computer's temporary memory. This transmission, like a television
       or radio broadcast, is a performance because there is a playing of the
       song that is perceived simultaneously with the transmission. In
       contrast, downloads do not immediately produce sound; only after a
       file has been downloaded on a user's hard drive can he perceive a
       performance by playing the downloaded song. Unlike musical works
       played during radio broadcasts and stream transmissions,
       downloaded musical works are transmitted at one point in time and
       performed at another. Transmittal without a performance does not
       constitute a ‘public performance.’

Id. at 74 (internal citations omitted).

       Drawing from the Second Circuit’s underlying decision in Aereo, 16 and

United States v. Am. Soc’y of Composers, Authors, Publishers, the district court

for the Southern District of New York expressly found the operator of an online

music streaming website directly liable for copyright infringement. Capitol

Records, LLC v. Escape Media Grp., Inc., No. 12-CV-6646 (AJN), 2015 WL

1402049, at *3, *38-39 (S.D.N.Y. Mar. 25, 2015) (adopting Magistrate Judge’s

Report and Recommendation on summary judgment and finding “there is

evidence from which copyright infringement can be found” where plaintiff’s

“copyrighted works were streamed 12,224,567 times” from Grooveshark’s

16The Magistrate Judge’s decision in Escape Media (adopted by the district court in 2015) was
issued in 2014 shortly before the Supreme Court’s decision in Aereo. The discussion of the
Second Circuit’s analysis in Aereo that a digital transmission is not “public” if received by “only
one subscriber” is not applicable as that portion of the decision has been overturned by the
Supreme Court as noted above.


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system). The plaintiff, EMI, established its claim of direct copyright infringement

against Escape Media on summary judgment through evidence that: (1) EMI

owned the exclusive right to enforce copyrights in 2,807 sound recordings at

issue; and (2) Escape Media infringed EMI’s right to perform those works by

storing a copy of each recording in its online library and allowing its users to

share access to those recordings through streaming, without authorization, over

12 million times on its website. Id. The court relied on the Court of Appeals’

interpretation that “‘to perform’ a musical work entails contemporaneous

perceptibility,” meaning that a recording is performed when it is actually played

for a listener, as opposed to when “a recording ... is simply delivered to a

potential listener.” Id. at *38 (quoting United States v. Am. Soc’. of Composers,

Authors, Publishers, 627 F.3d at 72–73); see also Cartoon Network LP, LLLP v.

CSC Holdings, Inc., 536 F.3d 121, 134 (2d Cir. 2008) (“[A] transmission of a

performance is itself a performance”). “Generally, a digital transmission is

‘public’ under the Copyright Act if the source of that transmission (e.g., the MP3

file) is capable of producing transmissions that are ‘received by the public.’” Id.

(citing WNET, Thirteen v. Aereo, Inc., 712 F.3d 676, 689 (2d Cir. 2013)). “Files

streamed over the internet are typically public under this definition, and the

Court of Appeals has found ‘internet streaming’ to ‘produce[ ] public

performances.’” Id. (citing Aereo, 712 F.3d at 692); see also Capitol Records, LLC

v. ReDigi Inc., 934 F. Supp. 2d 640, 652 (S.D.N.Y.2013) (finding “audio streams”

to be public performances). Thus, the court held that “[b]y streaming a song on


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Grooveshark.com, a user is only able to listen to the song contemporaneously

with the stream; a user cannot receive delivery of the file of the recording. This

constitutes a performance under the Copyright Act. And that performance is

public under the Copyright Act because Grooveshark streams content to users . . .

Between March 23, 2012, and October 2013, Grooveshark streamed EMI's

copyrighted recordings, without authorization, to its users over 12 million times.”

Id. at *39. Therefore, because the Copyright Act and the DMCA grant a copyright

owner the exclusive right, “in the case of sound recordings, to perform the

copyrighted work publicly by means of a digital audio transmission,” the court

found EMI was entitled to summary judgment on its claim that the defendant’s

music streaming website directly infringed its right to public performance of its

copyrighted audio recordings. Id.; 17 U.S.C. § 106(6).

      Here, Defendants admit that at least one copy of each of the 4,082

copyrighted sound recordings at issue was streamed from Spinrilla. (Defs.’ Resp.

to SMF ¶ 60.)     Notably, however, Defendants offer no response to counter

Plaintiffs’ argument that such streaming constitutes direct infringement of

Plaintiffs’ exclusive right to public performance of their works.          Rather,

Defendants argue that “[w]hen an Internet service provider such as Spinrilla is at

issue however, ‘something more must be shown than mere ownership of a

machine used by others to make illegal copies. There must be actual infringing

conduct with a nexus sufficiently close and causal to the illegal copying that one

could conclude that the machine owner himself trespassed on the exclusive


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domain of the copyright owner.” (Defs.’ Mot. for Summ. J., Doc. 263 at 21)

(quoting Disney Enterprises, Inc. v. Hotfile Corp., 798 F. Supp. 2d 1303, 1307-08

(S.D. Fla. 2011)).

      Neither Hotfile nor any of the other cases on which Defendants rely

involved a music streaming service or alleged infringement of the right of public

performance. These cases are inapplicable and are insufficient to outweigh the

authority supporting Plaintiffs’ motion.

      In Hotfile, the district court found that the owners of copyrights to motion

pictures 17 uploaded by users of the file-sharing website www.hotfile.com could

not sue the website operator who profited from its users’ uploads and downloads

of copyrighted movies for direct infringement of their rights of reproduction,

distribution, and display under the Copyright Act absent allegations that the

website operator uploaded copyrighted material or some other volitional conduct

on the part of the operator. 798 F. Supp. 2d 1303, 1307-08.

      In Pefect 10, Inc. v. Giganews, Inc., the owner of the copyright to

thousands of adult images of nude or semi-nude female models sued to enforce

its rights under the Copyright Act to (1) reproduce, (2) create derivative works,

(3) distribute, and (4) publicly display its copyrighted works. 2014 WL 8628034

(N.D. Cal. 2014). These copyrighted images were made widely available on the

internet through Usenet “an international collection of organizations and

individuals (known as ‘peers’) whose computers connect to one another and

 The plaintiffs included major motion-picture movie studios Disney, Twentieth Century Fox,
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Universal Studies, Columbia Pictures, and Warner Bros.


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exchange messages posted by Usenet users.” Id. at *1. Users gain access to Usenet

through a commercial Usenet provider, such as Giganews, or an internet service

provider. Id. Defendant Giganews owns and operates numerous Usenet servers,

providing its subscribers access to the content stored on Giganews’ servers and

to the content stored on the servers of other Usenet providers. Id. The content on

Usenet to which Giganews offers access “is primarily user-driven” meaning the

content that is stored on a Usenet provider’s server is generally uploaded by its

users. Id. *2. The district court reasoned that “[i]nherent in any claim for direct

liability under the Copyright Act, then, is a plaintiff’s need to prove the defendant

was the direct cause of the injury. Put another way, to establish causation on a

claim for direct liability, “defendants must actively engage in one of the activities

recognized in the Copyright Act.” Id. at *7. Thus, the Court in Perfect 10 held that

“[w]here, as here, the plaintiff fails to show that the defendant “himself uploaded

or downloaded the files, or directly caused such uploading or downloading to

occur,” there can be no liability for direct infringement.” Id. Because a claim “for

direct liability requires evidence that the Defendants directly or actively caused

the infringement, Perfect 10’s continued insistence that Defendants allowed its

subscribers to upload, download, and view infringing material is the stuff of

indirect or secondary liability, not direct liability.” Id. at *9.

      Similarly, in BWP Media USA, Inc. v. T&S Software Associates, the

registered owners of copyrights for photographs of the musician ke$ha, the

actress Julianne Hough, and the musician Ashlee Simpson, sued the host of


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hairboutique.com, a website which includes a public forum called HairTalk where

users can post content, share comments, ask questions, and engage in other on-

line interactions with other users on topics such as hair, beauty, celebrities,

current events, politics, and dating. 2016 WL 1248908 (N.D. Tex. 2016). The

plaintiffs claimed that their rights were infringed because the photos were posted

by users of the HairTalk website without plaintiffs’ permission. The district court

granted the defendant’s summary judgment motion, finding “no genuine issue as

to whether Defendant is liable for direct copyright infringement, because

Defendant was not personally involved in the infringing conduct.” Id. *2.

      In Religious Technology Center v. Netcom On-Line Comm. Svcs., the

plaintiffs held the copyrights in the unpublished and published works of Church

of Scientology founder L. Ron Hubbard. 907 F. Supp. 1361 (N.D. Cal. 1995).

They sued the operator of an online bulletin board service and an internet service

provider for direct infringement of their exclusive rights to reproduce the

copyrighted work, the right to prepare derivative works, the right to distribute

copies to the public, and the right to publicly display the works after a former

minister of Scientology turned vocal critic of the Church, posted portions of their

works to an on-line forum for discussion and criticism of Scientology.          The

district court held that the defendants, by providing a forum for their subscribers

to upload and download newsgroup postings, were not directly liable for copies of

copyrighted works “automatically made on their computers using their software

as part of a process initiated by a third party.” Id. at 1367-68. Instead, the court


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compared “Netcom’s act of designing or implementing a system that

automatically and uniformly creates temporary copies of all data sent through it”

to “the owner of a copying machine who lets the public make copies with it.” Id.

at 1368-69. Although Netcom has been cited by some courts as setting forth the

standard in cases alleging that an internet company is infringing a plaintiff’s

copyright, the Supreme Court in Aereo rejected the application of the copy shop

analogy in the context of a cases such as this involving infringement of the right

of performance by an online streaming service.

      As noted above, the Copyright Act is a strict liability statute and the

Eleventh Circuit has not considered whether “volitional” conduct is a necessary

element for direct copyright infringement.       But even if volitional conduct is

required to prove direct infringement, the cases on which Plaintiffs rely have all

held that the affirmative act of streaming constitutes direct infringement of the

copyright holder’s exclusive right of performance regardless of the fact that the

the streaming occurs at the request of the user. See Spanksi Enterprises, Inc. v.

Telewizja Polska, S.A., 883 F.3d at 910, 912 (“Nowhere does the Act state that a

work so shown is performed only if a third-party end user plays no role in the

showing. Here, because TV Polska “show[ed]” the fifty-one copyrighted episodes

“to the public” through its video-on-demand system—“a[ ] device or process” that

rendered “members of the public capable of receiving the performance ... in

separate places and ... at different times,”– it has violated Spanski’s undisputed

public performance right. . . TV Polska’s conduct – “us[ing] its own equipment”


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to “allow[ ] [users] to watch television programs, many of which are copyrighted,”

by transmitting content upon a user’s request, constitutes infringement under

Aereo’s binding authority) (citing Aereo, 134 S.Ct. at 2506). Here, Plaintiffs do

not rely solely on uploads and downloads of their music to and from Spinrilla.

Defendants have created an interactive internet player that streams copyrighted

content directly from its website and mobile app. In doing so, Defendants have

infringed Plaintiffs’ exclusive right “to perform” their copyrighted sound

recordings “publicly by means of a digital audio transmission.” 17 U.S.C. 106(6).

Therefore, Plaintiffs are entitled to summary judgment on their claim of direct

infringement of the 4,082 works in suit. Accordingly, the Court GRANTS IN

PART Plaintiffs’ Motion for Summary Judgment on Liability [Doc. 224] and

DENIES Defendant’s Cross Motion for Summary Judgment on Plaintiffs’ Claims

of Direct and Secondary Copyright Infringment [Doc. 262].

      Having found that Plaintiffs are entitled to summary judgment for direct

infringement, it is not necessary to consider Plaintiffs’ claims for secondary or

contributory infringement.

IV.   Cross Motions for Summary Judgment on Defendants’ Safe
      Harbor Defense

      Plaintiffs and Defendants have cross-moved on Defendants’ assertion of

the “safe harbor” defense under the Digital Millennium Copyright Act (“DMCA”),

17 U.S.C. § 512. See Amended Answer, Affirmative Defenses ¶ 17 [Doc. 154.] The

DMCA provides a limitation on liability for online service providers against



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claims of copyright infringement. 17 U.S.C. § 512. Specific to this case, 17 U.S.C. §

512 (c) provides that when certain criteria are met, “A service provider shall not

be liable for monetary relief . . . for infringement of copyright by reason of storage

at the direction of a user of material that resides on a system or network

controlled or operated by or for the service provider.” Neither party disputes that

Spinrilla is a service provider within the meaning of 17 U.S.C. § 512 (c). 18

       To qualify for the safe harbor defense under the DMCA, the service

provider must satisfy certain criteria regarding the storage and transfer of

copyright infringing material. Because § 512(c) provides an affirmative defense,

the defendant “must establish ‘beyond controversy every essential element,’ and

failure to so will render the [defendant] ineligible for the § 512(c) safe harbor’s

protection.” Mavrix Photographs, LLC v. Livejournal, Inc., 873 F.3d 1045, 1052

(9th Cir. 2017). Although the service provider has the burden of demonstrating

entitlement to its protections, “the DMCA has often been construed in favor of

service providers requiring little effort by their operations to maintain

immunity.” Disney Enters., Inc. v. Hotfile Corp., No. 11-20427-CIV, 2013 WL

6336286 at *19 (S.D. Fla. Sept. 20, 2013). To qualify for safe harbor protection,

the service provider must not have actual or “red flag” knowledge of content or

activity on its site that infringes copyrights owned by others, or must act

“expeditiously to remove, or disable access to” the infringing content “upon


18As it pertains to 17 U.S.C. § 512(c) (subsection entitled “Information Residing on Systems or
Networks at Direction of Users”), a service provider is defined as “a provider of online services
or network access, or the operator of facilities therefor.” 17 U.S.C. § 512(k)(1)(B).


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obtaining such knowledge or awareness.” 17 U.S.C. § 512 (c)(1)(A)(i)-(iii). Red

flag knowledge means that the service provider is “aware of facts or

circumstances from which infringing content is apparent.” 17 U.S.C. §

512(c)(1)(ii). In addition, when the service provider has “the right and ability to

control such activity” on its site, the provider must not receive “a financial benefit

directly attributable to infringing activity.” 17 U.S.C. § 512 (c)(1)(B).

      Both actual and red flag knowledge relate to specific instances of copyright

infringement. Viacom Int’l. v. YouTube, 676 F.3d 19, 31 (2nd Cir. 2012). A

general awareness that infringing activity occurs on the provider’s site does not

preclude use of the safe harbor defense. Id. Actual knowledge is present when the

service provider actually or subjectively knew of specific infringement. Columbia

Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1043 (9th Cir. 2013). “Red flag”

knowledge “turns on whether the provider was subjectively aware of facts that

would have made the specific infringement ‘objectively’ obvious to a reasonable

person.” Viacom, 676 F.3d at 31. Therefore, the difference between actual and red

flag knowledge is “between a subjective and an objective standard.” Id.

      Importantly, if a service provider is otherwise eligible for the safe harbor

defense, the burden of proof is on the copyright owner to show that the service

provider failed to respond appropriately to actual or red flag knowledge. Capitol

Records v. Vimeo, 826 F.3d 78, 95 (2d Cir. 2016). Moreover, the service provider

holds no duty to search or monitor for copyright infringement. Id. at 98; Viacom




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676 F.3d at 35. 19 The copyright holder has the responsibility of policing for

infringement. See Ventura Content v. Motherless, 885 F.3d 597, 610 (9th Cir.

2018). Therefore, Plaintiffs in a copyright infringement suit must point to

evidence that Defendants knew of infringing activity or knew of facts or

circumstances that would make copyright infringement obvious to an ordinary

person. Vimeo, 826 F.3d at 94.

       However, a service provider is not completely absolved of any

responsibility. Willful blindness to specific infringement is a proxy for knowledge

that would negate the safe harbor defense. Id. at 99. In addition, while the

DMCA places primary responsibility for policing copyright infringement on the

copyright owner, the service provider “must respond expeditiously and effectively

to the policing” in order to invoke the safe harbor defense. Ventura Content, 885

F.3d at 604; see 17 U.S.C. § 512 (1)(c).

       To qualify for the safe harbor defense, a service provider must also have a

designated agent to receive notifications of claimed copyright infringement. See

17 U.S.C. § 512 (c)(2) (“The limitations on liability established in this subsection

apply to a service provider only if the service provider has designated an agent to

receive notifications of claimed infringement”) (emphasis added). The designated

agent must be accessible to the public both through the service provider’s website




19See 17 U.S.C. § 512 (m)(1) (applicability of the safe harbor defense cannot be conditioned on “a
service provider monitoring its services or affirmatively seeking facts indicating infringing
activity, except to the extent consistent with a standard technical measure”).


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and by being registered with the U.S. Copyright Office. 20 Lack of a registered

designated agent to receive copyright infringement notices disqualifies the

service provider from using the safe harbor shield. BWP Media USA, Inc. v.

Hollywood Fan Sites LLC, 115 F. Supp. 3d 397, 402 (S.D.N.Y. 2015). Moreover, a

service provider does not “retroactively” qualify for the safe harbor defense for

copyright infringement that occurred prior to registering a designated agent. Id.

at 400.

       Use of the safe harbor defense under 17 U.S.C. § 512 is also conditioned

upon meeting the eligibility requirement of 17 U.S.C. § 512 (i), which requires

that the service provider “has adopted and reasonably implemented” a repeat

infringer policy. 21 To fulfill this requirement, “a service provider must (i) adopt a

policy that provides for the termination of service access for repeat copyright

infringers; (ii) inform users of the service policy; and (iii) implement the policy in

a reasonable manner.” Capitol Records, LLC v. Escape Media Grp., Inc., No. 12-

CV-6646 (AJN), 2015 WL 1402049, at *45 (S.D.N.Y. Mar. 25, 2015). The purpose

of requiring a repeat infringer policy is to prevent internet sites “from becoming

safe havens or conduits for known repeat copyright infringers” and “to deny

protection to websites that tolerate users who flagrantly disrespect copyrights.”

20 Both sources to identify the designated agent are required under 17 U.S.C. § 512 (c) (see BMP
Media v. Hollywood Fan Sites LLC, 115 F. Supp. 3d 397, 402 (S.D.N.Y. 2015) (“§ 512(c) makes
clear that it contemplates two parallel sources—the provider’s website and the USCO directory—
where each service provider’s DMCA agent is readily available to the public.”).
21 See 17 U.S.C. § 512 (i)(A) (“The limitations on liability established by this section shall apply to

a service provider only if the service provider—(A) has adopted and reasonably implemented,
and informs subscribers and account holders . . . a policy that provides for the termination in
appropriate circumstances of subscribers and account holders of the service provider’s system or
network who are repeat infringers.”)


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Capitol Records, Inc. v. MP3tunes, LLC, 821 F. Supp. 2d 627, 637 (S.D.N.Y.

2011). The term “repeat infringer” refers to all users “who engage in infringing

activity, not just the narrow subset of those who have been adjudicated by a

court.” BMG Rights Mgmt., LLC v. Cox Commc’n, Inc., 881 F.3d 293, 301 (4th

Cir. 2018). Thus, “infringer” means a user who the service provider knows to

violate one of the exclusive rights of a copyright, however such knowledge is

gained. See id. at 302-03; EMI Christian Music Grp., Inc. v. MP3tunes, LLC, 844

F.3d 79, 89 (2d. Cir. 2016). Importantly, a repeat infringer policy that satisfies

the requirement for the safe harbor defense requires nothing short of termination

of users who violated the policy. BMG Rights Mgmt., 881 F.3d at 305; Hotfile,

2013 WL 6336286, at *21; Escape Media Grp., 2015 WL 1402049 at *9-11.

      Along with maintaining a repeat infringer policy, 17 U.S.C. 512 (i) requires

that service providers “reasonably implement” the policy. The statute does not

define what it means for a policy to be “reasonably implemented.” See Perfect 10,

Inc. v. CCBill, LLC, 488 F.3d 1102, 1109 (9th Cir. 2007). Broadly, under the

DMCA, a service provider must “do what it can reasonably be asked to do to

prevent the use of its service by ‘repeat infringers.’” In re Aimster Copyright

Litig., 334 F.3d 643, 655 (7th Cir. 2003). In addition, the repeat infringer policy

must be effectively communicated to users. Escape Media Grp., 2015 WL

1402049, at *47. While courts leave the service provider some discretion in

crafting a repeat infringer policy, the provider has not “reasonably implemented”

the policy if it “fails to enforce the terms of its policy in any meaningful fashion.”


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BMG Rights Mgmt. LLC, 881 F.3d at 303; see also Aimster, 334 F.3d at 655

(holding that a service provider did not reasonably implement a repeat infringer

policy when it didn’t do “anything to discourage repeat infringers of plaintiff’s

copyrights”). To quality for safe harbor, the service provider bears the burden of

showing that it reasonably implemented a repeat infringer policy. Id. at 305.

      However, “reasonable implementation” of a repeat infringer policy does

not mean that the policy must be perfect. Ventura Content, 885 F.3d at 618;

Hotfile, 2013 WL 6336286, at *21. A service provider “need not affirmatively

police its users for evidence of repeat infringement.” CCBill, 488 F.3d at 1102.

One court has held that a provider has “reasonably implemented” a repeat

infringer policy simply by having a system in place for receiving and dealing with

copyright infringement notifications and “not actively prevent[ing] copyright

owners from collecting information needed to issue such notifications.” Id. at

1109. At a minimum, a service provider must respond to notifications or red flag

knowledge of recurrent instances of specific infringement. Id. More clearly, a

service provider loses the safe harbor defense if it enables users to evade

detection of copyright infringement. See Aimster, 334 F.3d at 655 (holding that

the defendant did not reasonably implement a repeat infringer policy when it

invited users to infringe plaintiff’s copyrights and showed them how to encrypt

their files for distribution in order to evade detection of copyright infringement).

Service providers must also keep adequate records of users who commit




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copyright infringement in order to adequately implement a repeat infringer

policy. Escape Media Grp., 2015 WL 1402049, at *48.

      In this case, Plaintiffs claim that Defendants have failed to comply with the

DMCA’s safe harbor requirements. Starting in March 2015, Plaintiffs sent fifty-

nine takedown notices over a two-year period identifying more than 400

infringing copies of Plaintiff’s sound recordings on Spinrilla’s system. Within that

timeframe, Plaintiffs also sent targeted notices over the four-month period

between July and November 2016, which identified nine specific user accounts

that had uploaded Plaintiffs’ copyrighted sound recordings to Spinrilla on

multiple occasions. Plaintiffs allege that one particular user uploaded a new

mixtape weekly for over that time period, which contained copyright infringing

sound recordings by major label artists such as Bruno Mars, The Weeknd, Missy

Elliot, Common, and Ludacris.

      After Plaintiffs filed suit on February 3, 2017, Spinrilla terminated one of

the nine repeat infringer accounts that were identified by Plaintiffs. Plaintiffs

allege, and Defendants do not dispute, that the other eight accounts continue to

operate on Spinrilla. Plaintiffs have identified copyright infringing sound

recordings that were uploaded by some of these accounts in October 2017. For

example, Plaintiffs listed twenty-one sound recordings uploaded by DJ Dirty

Dollarz, DJ Miles, or DJ 837 that were published to Spinrilla after July 23, 2017

and collectively downloaded over 2 million times before being removed. Although

these particular sound recordings are not listed as works in suit, Plaintiffs use


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them as evidence that Defendants have not terminated the accounts of users who

continue to repeatedly infringe Plaintiffs’ copyrights.

      Defendants acknowledge that they did not have a stated policy to terminate

users’ accounts for repeat copyright infringement until July 23, 2017 and did not

have a mechanism for tracking repeat infringers. On that day, Spinrilla updated

its Terms of Service to include for the first time a “Repeat Infringement” section,

which stated that “after two strikes, the user’s ability to upload music will be

revoked.” (Def. SMF ¶ 96). Copeland also began tracking instances of copyright

infringement on a spreadsheet. Therefore, prior to July 23, 2017, Defendants did

not have a repeat infringer policy that would satisfy the element stated in 17

U.S.C. § 512(i).

      The parties also do not dispute that Spinrilla first registered a DMCA agent

with the U.S. Copyright Office on July 29, 2017, which was five months after

Plaintiffs filed their complaint. (see Br. Supp. of Pl.’s Mot. for Partial Sum. J. at

11; Br. Supp. of Def.’s Mot. for Partial Sum. J. at 24.) Prior to July 29, 2017,

Spinrilla   received    takedown      notices   through     the    email    address,

legal@spinrilla.com, made available on Spinrilla’s website. However, it is clear

that the safe harbor defense cannot be invoked unless a designated DMCA agent

is also listed in the “Register of Copyrights” with the U.S. Copyright Office. See 17

U.S.C. § 512 (c)(2)(B). Moreover, “a service provider cannot retroactively qualify

for the safe harbor for infringements occurring before the proper designation of

an agent under the statute.” BWP Media, 115 F.Supp.3d at 400; see also Hotfile,


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2013 WL 6336286 at *26 (holding that defendant could not invoke the safe

harbor defense prior to the date that it had a registered agent with the Copyright

Office and had published the agent’s contact information on its website). A

defendant “may not invoke the safe harbor defense with respect to infringing

conduct that occurred prior to [the defendant’s] designating a DMCA-related

agent with the Copyright Office.” Id. (quoting Oppenheimer v. Allvoices, Inc., No.

C 14-00499(LB), 2014 WL 2604033, at *5). Indeed, Defendants only assert they

are entitled to safe harbor protection for infringement occurring on or after July

29, 2017. (Defs.’ Resp., Doc. 305 at 5.)

      Consequently, the undisputed facts demonstrate that Defendants did not

satisfy all of the required elements to be eligible for safe harbor defense until July

29, 2017, which is when they first designated an agent with the U.S. Copyright

Office and had adopted a repeat infringer policy. Therefore, Defendants cannot

invoke the safe harbor defense for their acts of infringement up to July 29, 2017.

      Plaintiffs also contend that Defendants are not entitled to DMCA safe

harbor protection after July 29, 2017 because Defendants have not “reasonably

implemented” the repeat infringer policy in accord with 17 U.S.C. § 512(i).

Plaintiffs argue that Defendants have failed to terminate the accounts of several

DJs who repeatedly infringed copyrighted sound recordings. The RIAA sent

takedown notices on behalf of Plaintiffs to Spinrilla prior to July 2017, which

listed several particular DJs who infringed copyrights on multiple occasions. In

addition, Plaintiffs identify several copyright infringing sound recordings that


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were uploaded by these DJs after Defendants implemented a repeat infringer

policy in July 2017. Finally, Plaintiffs allege that Defendants have notification of

continued repeat infringement by these particular DJs because many of the audio

files they have uploaded since July 2017 have been blocked by Audible Magic.

       The Court need not determine whether Defendants are entitled to

protection from liability under the DMCA safe harbor provision for alleged

infringing content available on Sprinrilla after July 29, 2017. Plaintiffs’ claims for

infringement are limited to the 4,082 works in suit identified in Amended Exhibit

A to the Second Amended Complaint. (See Order on Mot. to Amend, Doc. 214 at

62-63)(allowing amendment to add 2,000 additional sound recordings to list of

works in suit but finding that as “there must be some end in sight to the potential

extent of the Defendants’ alleged liability, the Court will not allow further

amendments and will hold Plaintiffs to this final list”). 22 The works in suit

identified in Plaintiffs’ Amended Exhibit A consist of thousands of Plaintiffs’

copyrighted sound recordings uploaded to Spinrilla through October 22, 2017.

Notably, however, the works in suit do not include any infringing sound

recordings uploaded by any of the DJs who Plaintiffs had identified as repeat

infringers in their prior takedown notices.



22Plaintiff’s original Complaint, filed on February 3, 2017, identified only 201 sound recordings
out of over 21,000 Plaintiffs’ claimed had been identified as available on Spinrilla. On
September 19, 2017, the Court granted Plaintiffs leave to amend the complaint to identify an
additional 2,043 sound recordings to their illustrative list of the works in suit. After discovery
revealed another 2,000 sound recordings that had been available on Sprinrilla prior to the
Defendant’s implementation of Audible Magic, the Court allowed Plaintiffs a final amendment
to their list of works in suit to include these additional 2,000 or so recordings.


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       There is no dispute that Spinrilla and Copeland were aware that nine DJs

had repeatedly infringed Plaintiffs’ copyrights prior to July 2017 and had failed to

terminate the user accounts of all but one of these DJs. 23 Plaintiffs assert that

Defendants have not reasonably implemented their repeat infringer policy after

its adoption in July 2017 because Defendants have allowed known repeat

infringers to continue to upload content to Spinrilla. More specificially, Plaintiffs

contend that Defendants failed to reasonably implement a repeat infringer policy

because 1) DJs who had been identified as repeat infringers continued to upload

copyright infringing content to Spinrilla after July 23, 2017, and 2) Defendants

had knowledge of DJs’ attempts to infringe copyrights that were blocked by

Audible Magic from being published on Spinrilla. Plaintiffs identify twenty-one

sound recordings that were uploaded by DJ Dirty Dollarz, DJ Miles, and DJ 837

after Defendants implemented their July 2017 repeat infringer policy. However,

Plaintiffs did not send takedown notices to Defendants regarding these sound

recordings and did not include them as works in suit. (Pl.’s Reply to Def. Resp. Pl.

SMF ¶¶ 115-117; Wilkens Ex. 001; Pl. SMF, Schedule A.)

       Accordingly, the Court GRANTS IN PART Plaintiffs’ Motion for

Summary Judgment on Defendant’s DMCA Safe Harbor Defense [Doc. 227] up to

July 29, 2017, and DENIES AS MOOT Plaintiffs’ Motion for Summary

Judgment on Defendant’s DMCA Safe Harbor Defense after July 29, 2017. For


23See Lineras decl. ¶ 14 (Between July 27, 2016 and November 11, 2016, RIAA sent 23 takedown
notices identifying 286 copyright infringing sound recordings by nine specific DJs. Each of the
nine DJs was identified in at least six separate takedown notices.).


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the same reasons, the Court DENIES Defendant’s Motion for Summary

Judgment as to Their DMCA Safe Harbor Defense.

V.    CONCLUSION

      For the foregoing reasons, the Court GRANTS IN PART Plaintiffs’

Motion for Summary Judgment on Liability [Doc. 224], DENIES Defendant’s

Cross Motion for Summary Judgment on Plaintiffs’ Claims of Direct and

Secondary Copyright Infringment [Doc. 262], GRANTS IN PART Plaintiffs’

Motion for Summary Judgment on Defendant’s DMCA Safe Harbor Defense

[Doc. 226], and DENIES Defendants’ Cross Motion for Partial Summary

Judgment as to Their DMCA Safe Harbor Defense [Doc. 264].

      Moreover as the Court has not considered the expert testimony of

Defendants’ expert regarding Defendants’ implementation of Audible Magic in its

ruling on liability, it is not necessary to rule on Plaintiffs’ Motion to Strike Expert

Testimony [Doc. 322]. In the event this testimony is relevant to any further

proceedings on damages, the Court will take up the motion at a later time if

necessary. Accordingly, Plaintiff’s Motion to Strike Expert Testimony [Doc. 322]

is DENIED WITHOUT PREJUDICE at this time.

      The parties are DIRECTED to file their Consolidated Pretrial Order on

Plaintiffs’ claim for damages NO LATER THAN JANUARY 13, 2021.

Alternatively, if the parties would rather attempt to resolve the case through a

mediation with former discovery Special Master Carlos A. González before going

through the expense of preparing for trial, they are DIRECTED to notify the


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Court in writing on the docket NO LATER THAN DECEMBER 16, 2020. 24

In the event the parties agree to pursue mediation, the Court will stay the

deadline for filing the Consolidated Pretrial Order pending the outcome of the

mediation.

       IT IS SO ORDERED this 30th day of November, 2020.



                                            ______________________________
                                            Amy Totenberg
                                            United States District Judge




24If parties determine they wish to proceed with another mediator, they are free to do so, but
shall notify the Court of the mediator's name, mediation firm affiliation (if any), and location
NO LATER THAN DECEMBER 16, 2020.


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